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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 United States of America,
                       Plaintiff,


                       vs.                         Case No. 12-10140-02-JTM


 Diego Beltran Vega,
                       Defendant.




                              MEMORANDUM AND ORDER


      This matter is before the court on the defendant’s Motion for Sentence Relief (Dkt.

321), premised on the Non-Violent Offenders Relief Act of 2003, H.R. 3575. This Act,

however, was not passed into law, and the court accordingly denies the requested

modification of the defendant’s release date. See United States v. Lara-Nausa, 2011 WL

2610559, *1 (S.D.N.Y. June 21, 2011) (because H.R. 3575 “is not a validly enacted federal

law, but a bill on which neither house of the U.S. Congress voted ... the Court lacks

authority to grant the motion”).

      IT IS SO ORDERED this 15th day of March, 2016.



                                               ___s/ J. Thomas Marten_____
                                               J. THOMAS MARTEN, JUDGE
